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5
                              UNTIED STATES DISTRICT COURT
6
                            WESTERN DISTRICT OF WASHINGTON
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9    UNITED STATES OF AMERICA,              )
                                            )      No.       CR08-05125BHS-7
10                             Plaintiff,   )
     vs.                                    )      ORDER GRANTING MOTION
11
                                            )      TO EXTEND TIME FOR
12   EPIFANIO BARRAGAN ESTRADA,             )      FILING PRETRIAL MOTIONS
                                            )
13                             Defendant.   )
14            This matter comes before the Court on Defendant EPIFANIO BARRAGAN
15   ESTRADA’S unopposed Motion to Extend Time for Filing Pretrial Motions (Dkt. 334).
16   The court having considered the submissions of the defendant, the court file, hereby
17   orders:
18            The Defendant EPIFANIO BARRAGAN ESTRADA’S Motion to Extend Time for
19   Filing Pretrial Motions is hereby GRANTED.
20            //
21            //
22            //
23            //
24            //
25            //
26            //
27            //
28
     ORDER RE:MOTION TO                                                             THE TREJO LAW FIRM
                                                                             701 NO. 1ST STREET, SUITE 103
     EXTEND TIME FOR FILING                                                              YAKIMA WA 98901
     PRETRIAL MOTIONS                                                                        (509) 452-7777
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           Defendant EPIFANIO BARRAGAN ESTRADA’S Pretrial Motions shall be filed no
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     later than October 2, 2008.
3
           DATED THIS 29th day of September, 2008.
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                                                      BENJAMIN H. SETTLE
12
                                                      United States District Judge
13
14
     Presented by:
15   THE TREJO LAW FIRM
16
     s/George Paul Trejo, Jr.
17   George Paul Trejo, Jr.
     Attorney for Mr. Barragan Estrada
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     ORDER RE:MOTION TO                                                           THE TREJO LAW FIRM
                                                                           701 NO. 1ST STREET, SUITE 103
     EXTEND TIME FOR FILING                                                            YAKIMA WA 98901
     PRETRIAL MOTIONS                                                                      (509) 452-7777
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